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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                       :
 UNITED STATES OF AMERICA              :                          Notice of Appearance
                                       :
           - v. –                      :                          24 Cr. 556 (DEH)
                                       :
 ERIC ADAMS,                           :
                                       :
                      Defendant.       :
                                       :
 ------------------------------------- X

TO: Clerk of Court
United States District Court
Southern District of New York

        The undersigned attorney respectfully requests the Clerk to note his appearance in this case
and to add him as a Filing User to whom Notices of Electronic Filing will be transmitted in this
case.

                                                  Respectfully Submitted


                                                  ___________/s/_________________
                                                  EDWARD SULLIVAN
                                                  Senior Litigation Counsel
                                                  Public Integrity Section
                                                  Criminal Division
                                                  United States Department of Justice
                                                  (202) 514-1412
                                                  edward.sullivan@usdoj.gov
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this date, I electronically filed the foregoing with the Clerk of the

Court using the CM/ECF system, which will serve all counsel of record.


                                                      ________/s__________________
                                                      Edward Sullivan
                                                      Senior Litigation Counsel

Dated: February 14, 2025




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